                                                                                                                        Case 4:19-cv-01167-JST Document 39 Filed 06/30/20 Page 1 of 2


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                                                                                                                                          UNITED STATES DISTRICT COURT
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                                                                                                        11                             NORTHERN DISTRICT OF CALIFORNIA

                                                                                                        12   FACEBOOK, INC. and INSTAGRAM, LLC,                  Case No. 4:19-cv-1167-JST

                                                                                                        13                       Plaintiffs,                     NOTICE OF PARTIAL WITHDRAWAL OF
TUCKER ELLIS LLP




                                                                                                                                                                 PLAINTIFFS FACEBOOK, INC. AND
                                                                                                        14         v.                                            INSTAGRAM, LLC’S MOTION TO DEEM
                                                                                                                                                                 SERVICE EFFECTIVE AND TO ENTER
                                                                                                        15                                                       DEFAULT AGAINST CERTAIN
                                                                                                           9 XIU NETWORK (SHENZHEN) TECHNOLOGY                   DEFENDANTS
                                                                                                        16 CO., LTD. a/k/a JIUXIU NETWORK (SHENZHEN)
                                                                                                           TECHNOLOGY CO., LTD.;
                                                                                                        17 9 XIU FEISHU SCIENCE AND TECHNOLOGY                   DATE:         July 15, 2020
                                                                                                                                                                 TIME:         2:00 p.m.
                                                                                                           COMPANY LTD.;                                         CTRM:         6 – 2nd Floor
                                                                                                        18 9 XIU FEI BOOK TECHNOLOGY CO., LTD.;

                                                                                                        19 HOME NETWORK (FUJIAN) TECHNOLOGY
                                                                                                           CO., LTD.;                                            Presiding: Hon. Jon S. Tigar
                                                                                                        20 WEI GAO a/k/a GAO WEI;
                                                                                                           ZHAOCHUN LIU a/k/a/ LIU ZHAOCHUN; and                 Referral: Hon. Alex G. Tse
                                                                                                        21 ZHAOPING LIU a/k/a LIU ZHAOPING,

                                                                                                        22
                                                                                                                                 Defendants.
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                                                                                                                                               NOTICE OF PARTIAL WITHDRAWAL OF MOTION FOR ENTRY OF DEFAULT
                                                                                                                                                                                       Case No. 4:19-cv-1167-JST
                                                                                                                       Case 4:19-cv-01167-JST Document 39 Filed 06/30/20 Page 2 of 2


                                                                                                         1   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

                                                                                                         2          PLEASE TAKE NOTICE that Plaintiffs hereby partially withdraw their motion for entry of

                                                                                                         3   default with respect to Defendant ZhaoPing Liu a/k/a Liu ZhaoPing only. As stated in the concurrently

                                                                                                         4   filed Supplemental Declaration of Celeste Ingalls, on June 25, 2020 — and after the filing of the instant

                                                                                                         5   motion — Plaintiffs’ counsel received a certificate of attempted service for Ms. Liu from China’s

                                                                                                         6   designated central authority. Supp. Ingalls Decl. ¶¶ 5-7 & Ex. 4.

                                                                                                         7          Because service has been unsuccessfully attempted on Ms. Liu and a certificate from China’s

                                                                                                         8   Central Authority has issued, Plaintiffs are no longer authorized to move for entry of Ms. Liu’s default

                                                                                                         9   under Article 15 of the Convention on the Service Abroad of Judicial and Extrajudicial Documents in
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                        10   Civil and Commercial Matters, Nov. 15, 1965, 20 U.S.T. 361, 658 U.N.T.S. 163 (the “Hague Service

                                                                                                        11   Convention”).

                                                                                                        12          Plaintiffs will seek to serve Ms. Liu by email by filing an amended version of their previously

                                                                                                        13   filed motion to serve Defendant 9 Xiu Network (Shenzhen) Technology Co., Ltd. by email (ECF No. 36).
TUCKER ELLIS LLP




                                                                                                        14          Plaintiffs continue to seek entry of default for Defendants Wei Gao and ZhaoChun Liu under

                                                                                                        15   Article 15 of the Hague Service Convention. Service documents requested by the Court for those

                                                                                                        16   defendants are attached to the Supplemental Ingalls Declaration as Exhibits 1-2.

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                                                                                                        19   DATED: June 30, 2020                                Tucker Ellis LLP
                                                                                                        20

                                                                                                        21                                                       By: /s/David J. Steele
                                                                                                                                                                      David J. Steele
                                                                                                        22                                                            Howard A. Kroll
                                                                                                                                                                      Steven E. Lauridsen
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                                                                                                                                                                       Attorneys for Plaintiffs,
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                                                                                                                                             NOTICE OF PARTIAL WITHDRAWAL OF MOTION FOR ENTRY OF DEFAULT
                                                                                                                                                                                   CASE NO. 4:19-CV-1167-JST
